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JS 44C/SDNY                                                                     CIVIL COVER SHEET
REV.
10/01/2020                The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleacjlngs or
                          other papers as required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the
                          United States in September 1974, is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet.



PLAINTIFFS                                                                                    DEFENDANTS
In the Matter of Kossoff, PLLC, Chapter 7, Case No. 21-10699 (DSJ)


ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER                  ATTORNEYS (IF KNOWN)
Neil Berger, Esq., Togut, Segal & Segal LLP                          Walter Mack, Esq., Dear Rieck Kaley & Mack
One Penn Plaza, New York 10119/(212) 594-5000                        217 Broadway, Suite 707, New York, NY 10007
                                                                     (212) 619-3730
CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE;)
                 (DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)

Appeal from Bankruptcy Court Order

                                                                                                                                                          Judge Previously Assi~ned
Has this action, case, or proceeding, or one essentially the same been previously filed in SONY at any time? No0Yes0                                       A. K. Hellersteln
lfyes,wasthiscase Voi.O lnvol. D                 Dismissed. NoD Yes             lRJ   lfyes,givedate_1_01_1_12_1_ _ _ _ _ _ &CaseNo.21-CIV-7122                                  (AKH)

Js THIS AN INTERNATIONAL ARBITRATION CASE7              No     0          Yes    D
(PLACE AN [x] IN ONE BOX ONLY)                                          NATURE OF SUIT
                                  TORTS                                                                                         ACTIONS UNDER STATUTES



CONTRACT                          PERSONAL INJURY              PERSONAL INJURY                FORFEITURE/PENAL TV               BANKRUPTCY                     OTHER STATUTES
                                                               I 1 367 HEAL THCARE/
1 1110          INSURANCE         I  1310 AIRPLANE             PHARMACEUTICAL PERSONAL        I    ]625 DRUG RELATED            [)(1422APPEAL
                                                                                                                                                               I I 375 FALSE CLAIMS
[ ]120          MARINE            I  ]315 AIRPLANE PRODUCT     INJURY/PRODUCT LIABILITY           SEIZURE OF PROPERTY                   28 usc 158             I 1376 QUI TAM
[ ]130          MILLER ACT                 LIABILITY           I ]365 PERSONAL INJURY                  21 USC 881               ( 1 423 WITHDRAWAL             I 1400 STATE
[ ]140          NEGOTIABLE        [ ]320 ASSAULT, LIBEL &               PROOUCT LIABILITY                                               28 usc 157                      REAPPORTIONMENT
                INSTRUMENT                 SLANDER             [ ]368 ASBESTOS PERSONAL       [   1690 OTHER                                                   I 1410 ANTITRUST
I   ]150        RECOVERY OF       I ] 330 FEDERAL                       INJURY PRODUCT                                                                         I 1430 BANKS & BANKING
                OVERPAYMENT &              EMPLOYERS'                   LIABILITY             PROPERTY RIGHTS                                                  [ 1450 COMMERCE
                ENFORCEMENT                LIABILITY                                                                                                           I 1460 DEPORTATION
                OF JUDGMENT       [ 1 340 MARINE               PERSONAL PROPERTY              [ ] 820 COPYRIGHTS       [   I 880 DEFEND TRADE SECRETS ACT      I I 470 RACKETEER INFLU-
[ ]151          MEDICARE ACT      [ 1 345 MARINE PROOUCT                                      [ ]830 PATENT                                                             ENCED & CORRUPT
[ ]152          RECOVERY OF                LIABILITY           [ ] 370 OTHER FRAUD                                                                                      ORGANIZATION ACT
                                                                                              [ ]835 PATENT-ABBREVIATED NEW DRUG APPLICATION
                DEFAULTED         [ 1 350 MOTOR VEHICLE        I ]371 TRUTH IN LENDING                                                                                  (RICO)
                STUDENT LOANS     I 1 355 MOTOR VEHICLE                                       [ I 840 TRADEMARK                                                I ] 480 CONSUMER CREDIT
                (EXCL VETERANS)            PRODUCT LIABILITY                                                                    SOCIAL SECURITY
[ ]153          RECOVERY OF       [ 1 360 OTHER PERSONAL
                                                                                                                                                               I ] 485 TELEPHONE CONSUMER
                                                                                                                                                                        PROTECTION ACT
                OVERPAYMENT                 INJURY             I ] 380 OTHER PERSONAL         LABOR                             I 1 861   HIA (1395ff)
                OF VETERAN'S       I 1 362 PERSONAL INJURY-               PROPERTY DAMAGE                                       I ].862   BLACK LUNG (923)
                BENEFITS                   MED MALPRACTICE     [   I 385 PROPERTY DAMAGE      [ 1710 FAIR LABOR                 [ ] 863   OIWC/DIWW (405(g))   I I 490 CABLE/SATELLITE TV
[ 1160          STOCKHOLDERS                                              PRODUCT LIABILITY           STANDARDS ACT             [ 1 864   SSID TITLE XVI       [ I 850 SECURITIES/
                SUITS                                                                         [ I 720 LABORIMGMT                I I 865   RSI (405(g))                  COMMODITIES/
[ 1190         OTHER                                           PRISONER PETITIONS                     RELATIONS                                                         EXCHANGE
                CONTRACT                                       [ 1463 ALIEN DETAINEE          [ 1740 RAILWAY LABOR ACT                                         [ ]890 OTHER STATUTORY
[ ]195          CONTRACT                                       [ 1 510 MOTIONS TO             [ ] 751 FAMILY MEDICAL            FEDERAL TAX SUITS
                                                                                                                                                                        ACTIONS
                PRODUCT           ACTIONS UNDER STATUTES                VACATE SENTENCE       LEAVE ACT (FMLA)
                LIABILITY                                               28 usc 2255                                          [ ]870 TAXES (U.S. Plaintiff or   [ 1 891 AGRICULTURAL ACTS
I   1 196   FRANCHISE             CIVIL RIGHTS                 [ 1 530 HABEAS CORPUS          [ I 790 OTHER LABOR                    Defendant)                [ 1 893 ENVIRONMENTAL
                                                               [ 1535 DEATH PENALTY                      LITIGATION          [ 1871 IRS-THIRD PARTY                     MATTERS
                                                               [ 1 540 MANDAMUS & OTHER       [   I 791 EMPL RET INC                 26 usc 7609               [ ] 895 FREEDOM OF
                                  [ 1 440 OTHER CIVIL RIGHTS
                                                                                                         SECURITY ACT (ERISA)                                           INFORMATION ACT
                                          (Non-Prisoner)
REAL PROPERTY                                                                                                                                                  [ I 896 ARBITRATION
                                  [ I 441 VOTING                                              IMMIGRATION                                                      [ ] 899 ADMINISTRATIVE
[ 1210         LAND               I 1442 EMPLOYMENT            PRISONER CIVIL RIGHTS
                                                                                                                                                                  PROCEDURE ACT/REVIEW OR
               CONDEMNATION       I l 443 HOUSING/                                      [ ]462 NATURALIZATION
                                          ACCOMMODATIONS I ] 550 CIVIL RIGHTS                                                                                     APPEAL OF AGENCY DECISION
[ ]220         FORECLOSURE                                                                      APPLICATION
[ ] 230        RENT LEASE &       [ 1445 AMERICANS WITH       [ 1 555 PRISON CONDITION  [ ]465 OTHER IMMIGRATION                                                   [ ] 950 CONSTITUTIONALITY OF
               EJECTMENT                  DISABILITIES-       [ 1560 CIVIL DETAINEE             ACTIONS                                                            STATE STATUTES
[ 1 240        TORTS TO LAND              EMPLOYMENT             CONDITIONS OF CONFINEMENT
I 1 245        TORT PRODUCT       I ] 446 AMERICANS WITH
               LIABILITY                  DISABILITIES -OTHER
[ ]290         ALL OTHER           [ 1448 EDUCATION
               REAL PROPERTY




            Check if demanded in complaint:
                                                                          DO YOU CLAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S.D.N.Y.

D           CHECK IF THIS IS A CLASS ACTION
            UNDER F.R.C.P. 23
                                                                          AS DEFINED BY LOCAL RULE FOR DIVISION OF BUSINESS 13?
                                                                          IF SO, STATE:

DEMAND $._ _ _ _ _ OTHER _ _ _ _ _ JUDGE _ _ _ _ _ _ _ _ _ _ _ _ DOCKET NUMBER._ _ _ _ __

Check YES only if demanded in complaint
JURY DEMAND:              0   YES DJO                                     NOTE: You must also submit at the time of filing the Statement of Relatedness form (Form IH-32).
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(PLACE AN x IN ONE BOX ONLY)                                                      ORIGIN
0 1 Original         0   2   Removed from            0   3   Remanded    0   4   Reinstated or       0   5 Transferred from 0 6          Multidistrict        IEJ 7 Appeal to District
      Proceeding                                                                                             (Specify District)          Litigation                  Judge from
                             State Court                     from                Reopened
                                                                                                                                         (Transferred)               Magistrate Judge
                                                             Appellate
                     D a.      all parties represented       Court
                                                                                                                                  0   8 Multidistrict Litigation (Direct File)
                     0    b.   At least one party
                               Is prose.

(PLACE AN x IN ONE BOX ONLY)                                         BASIS OF JURISDICTION                                                     IF DIVERSITY, INDICATE
0   1 U.S. PLAINTIFF     0     2 U.S. DEFENDANT          lBJ 3 FEDERAL QUESTION                    04    DIVERSITY                             CITIZENSHIP BELOW.
                                                                 {U.S. NOT A PARTY)

                                 CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)
       {Place an [X] in one box for Plaintiff and one box for Defendant)

                               PTF    DEF                                                        PTF DEF                                                               PTF       DEF
CITIZEN OF THIS STATE          [ 11   [ ]1       CITIZEN OR SUBJECT OF A                         [ 13 [ 13         INCORPORATED and PRINCIPAL PLACE                    [ 15      [ 15
                                                  FOREIGN COUNTRY                                                  OF BUSINESS IN ANOTHER STATE

CITIZEN OF ANOTHER STATE       [ 12   [ 12          INCORPORATED or PRINCIPAL PLACE              [ 14 [ ]4         FOREIGN NATION                                      [ 16 [ 16
                                                     OF BUSINESS IN THIS STATE

PLAINTIFF(S) ADDRESS(ES) AND COUNTY(IES)

Counsel for Albert Togut, in His Capacity as Chapter 7 Interim Trustee:
Neil Berger, Esq., Togut, Segal & Segal LLP
Attorneys at Law, One Penn Plaza
New York, NY 10119/(212) 594-5000

DEFENDANT(S) AODRESS(ES) AND COUNTY(IES)

Counsel for Debtor Kossoff, PLLC/Mitchell H. Kossoff:
Walter Mack, Esq., Doar Rieck Kaley & Mack
217 Broadway, Suite 707
New York, NY 10007/(212) 619-3730

DEFENDANT(S) ADDRESS UNKNOWN
REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, I HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN
THE RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:




                                                           COURTHOUSE ASSIGNMENT
I hereby certify that this case should be assigned to the courthouse indicated belo~ pursuant to Local Rule for Division of Business 18, 20 or 21.



Check one:                                                                         0     WHITE PLAINS                             ~MANHATTAN


                                                                                                         ADMITTED TO PRACTICE IN THIS DISTRICT
                               SIGNATURE OF ATTORNEY OF RECORD                                           []NO
                                                                                                         [X] YES (DATE ADMITTED Mo. _ _ Yr. 1973
RECEIPT#                                                                                                 Attorney Bar Code # 2586


Magistrate Judge is to be designated by the Clerk of the Court.



Ruby J. Krajick, Clerk of Court b y - - - - - - Deputy Clerk, D A T E D - - - - - - - - -

UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)


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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

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                     In the Matter                                Chapter 7
                                                                  Case No. 21-10699 (DSJ)
                          -of-

 KOSSOFF, PLLC,

                                         Debtor.


 -------------------------------X

                                                 NOTICE OF APPEAL

          PLEASE TAKE NOTICE that pursuant to Title 28 U.S.C. 158(a), Mitchell H. Kossoff

 hereby appeals to the United States District Court, Southern District of New York, from Order of

 the United States Bankruptcy Court, Southern District of New York, by the Hon. David S. Jones,

 entered November 18, 2021, Inviting But Not Requiring Possible Limited Submissions By 3:00

 PM November 19 Regarding Relief Sought by Trustee's Pending Motion to Hold Mitchell H.

 Kossoff in Civil Contempt, and

          PLEASE TAKE FURTHER NOTICE that Mitchell H. Kossoffhereby appeals from each

 and every part of the said Order, and from the whole thereof.

          The names of all parties to the Order appealed from are set forth below:



 Counsel for Mitchell H. Kossoff and Debtor Kossoff, PLLC

 Walter Mack, Esq.
 David Rivera, Esq.
 Doar Rieck Kaley & Mack
 217 Broadway-Suite 707
 New York, New York 10007
 (212) 619-3730
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 Counsel for Albert Togut, Not Individually, but
 Solely in His Capacity as Chapter 7 Interim Trustee

 Neil Berger, Esq.
 Minta J. Nester, Esq.
 Brian F. Shoughnessy, Esq.
 Togut, Segal & Segal LLP
 Attorneys at Law
 One Penn Plaza
 New York, New York 10119
 (212) 594-5000


 Dated: New York, New York
        November 23, 2021                        Respectfully submitted


                                                 ~\11>2
                                                 Walter Mack, Esq.
                                                 Doar Rieck Kaley & Mack
                                                 217 Broadway, Suite 707
                                                 New York, New York 10007
                                                 (212) 619-3730 (telephone)
                                                 (212) 962-5037 (facsimile)
                                                 Attorney for Mitchell H Kossoff--
                                                  Kossoff, P LLC




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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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                     In the Matter                                     Chapter 7
                                                                       Case No. 21-10699 (DSJ)
                          -of-

 KOSSOFF PLLC,


                                            Debtor.

 -------------------------------------------------------------- )(

  ORDER INVITING BUT NOT REQUIRING POSSIBLE LIMITED SUBMISSIONS BY
 3:00P.M. NOVEMBER 19 REGARDING RELIEF SOUGHT BY TRUSTEE'S PENDING
        MOTION TO HOLD MITCHELL H. KOSSOFF IN CIVIL CONTEMPT


          WHEREAS, on November 16, 2021, the Court heard argument on the Trustee's motion

 (the "Contempt Motion," ECF No. 218) seeking an order holding Mitchell H. Kossoffin civil

 contempt of prior orders of this Court; and


          WHERAS, the Contempt Motion as filed requested entry by this Court of a

 "Certification" of contempt that as drafted would require review and action by the District Court,

 including entry of a bench warrant for Mr. Kossoffs arrest [ECF No. 218 Ex. A]; and


          WHEREAS, the Court orally found that Mr. Kossoff was and is in civil contempt of prior

 orders of this Court, and further found that no sanction less severe than incarceration would be

 sufficiently likely to induce compliance by Mr. Kossoff, but that, in substance, no warrant should

 be issued until after Mr. Kossoff has a strictly limited amount of additional time to come into

 compliance with the Court's prior orders and to demonstrate to the Court that he has done so.

 Further, the Court stated that, in the absence of a showing of compliance by Mr. Kossoff, the


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 Court contemplates the issuance of a bench warrant for Mr. Kossoff s arrest without requiring

 any further application, notice, or hearing; and


        WHEREAS, in light of questioning and suggestions by the Court, counsel for the Trustee

 submitted to Chambers a revised proposed form of certification in the form attached hereto as

 Exhibit A; and


        WHEREAS, upon request by counsel for Mr. Kossoff during the November 16 hearing

 and with the Court's authorization, Mr. Kossoff counterproposed a form of certification attached

 hereto as Exhibit B in redline to reflect Mr. Kossoff s proposed modifications to the Trustee's

 proposed certification; and


        WHEREAS, in a non-docketed communication in response to Mr. Kossoffs

 counterproposed form of certification that was on notice to Mr. Kossoff, the Trustee responded

 to the counterproposal with his own list of objections, and asked the Court to adhere to the

 Trustee's revised proposed form of certification; and


        WHEREAS, during argument, counsel for the Trustee identified an instance in 2017 in

 which this Court directly entered a bench warrant for arrest in connection with a finding of this

 Court that an individual was in civil contempt of Court, referring to In re 199 East 7th Street

 LLC, No. 14-13254 (SCC), Bankr. S.D.N.Y. ECF No. 154 (Jan. 18, 2017); and


        WHEREAS, neither party has questioned this Court's authority to enter an order finding

 Mr. Kossoff or any individual in civil contempt, and to itself issue appropriate sanctions up to

 and including arrest and incarceration; and


        WHEREAS, as the Court stated it would do during the November 16 hearing, the

 undersigned has made inquiries of relevant Court personnel regarding the judicial

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 administrability of the certification procedure sought by the Contempt Motion, and believes that

 following that procedure may prove unnecessarily complex and burdensome on judicial

 resources, and, in addition, appears unnecessary in light of this Court's authority, which the

 parties to date have not questioned, to enter all substantive relief sought in connection with the

 Contempt Motion; and


        WHEREAS, the Court wishes to ensure that the parties have notice that the Court is

 considering employing a different procedure from that proposed by the Contempt Motion to

 afford the relief that the Court has stated on the record it intends to grant, and, further, wishes to

 afford the parties an opportunity to identify any legal impediments that they may believe exist to

 the approach that the Court is now contemplating;


         IT IS HEREBY ORDERED that any party wishing to assert that the Court lacks authority

 to issue an appropriate, final order or findings of fact and conclusions of law holding an

 individual in civil contempt, and/or to impose appropriate sanctions including incarceration, shall

 file a letter not to exceed three pages by 3:00p.m. November 19, 2021, informing the Court of

 that position and the reasons for it. Thereafter, the Court will enter an appropriate order after

 having considered any such submissions received, along with the respective proposed and

 counterproposed Certifications submitted by the parties, and all prior pleadings and proceedings

 in the matter.


 SO ORDERED.


 Dated: New York, New York
        November 18, 2021
                                                     s/ DavidS. Jones
                                                Honorable DavidS. Jones
                                                United States Bankruptcy Judge


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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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                        In the Matter                                Chapter 7
                                                                     Case No. 21-10699 (DSJ)
                           -of-

 KOSSOFF PLLC,
                                                                     Civ. Docket No.:

                                            Debtor.

 -------------------------------------------------------------- )(

                                      CERTIFICATION OF CONTEMPT

 TO THE HONORABLE JUDGE OF THE
 UNITED STATES DISTRICT COURT,
 FOR THE SOUTHERN DISTRICT OF NEW YORK:

                   I, DavidS. Jones, a United States Bankruptcy Judge in this District

 presiding over the above-captioned case originally commenced by creditors of Kossoff

 PLLC (the "Debtor"), after a hearing and good and sufficient notice to Mitchell H.

 Kossoff ("Kossoff") following a motion by Albert Togut, not individually, but solely in

 his capacity as the Chapter 7 Interim Trustee (the "Trustee"), do hereby certify to the

 United States District Court for the Southern District of New York that:

 I.      The Chapter 7 Case

                   1.       On April13, 2021 (the "Petition Date"), creditors of the Debtor

 (collectively, the "Petitioning Creditors") filed an involuntary petition for relief under

 Chapter 7 of the Bankruptcy Code (the "Involuntary Petition") in the United States

 Bankruptcy Court for the Southern District of New York (the "Bankruptcy Court")
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 against the Debtor in the above-captioned Chapter 7 case (the "Chapter 7 Case").

               2.      Prior to the Petition Date, the Debtor operated as a law firm located

 at 217 Broadway in New York City, New York, and serviced clients in the real estate

 industry. See Bankr. Docket No. 26-4 ~ 10. 1 The Debtor held itself out as providing

 full-service real estate legal services specializing in litigation and transactional matters

 related to areas of real property law, including leasing, sale and acquisition of real

 property interests, commercial landlord tenant matters, real estate litigation, and city,

 state and federal agency regulatory matters. See id.

               3.      The Debtor was a professional limited liability company, organized

 under the laws of New York, and Kosso££ was its sole managing member. See Bankr.

 Docket No. 116, Ex. 3 (Articles of Organization and Operating Agreement); see also

 Bankr. Docket No. 30; Bankr. Docket No. 30-1.

               4.      The Petitioning Creditors are clients of the Debtor and together

 assert claims for "Unreturned lOLA Funds" and "Misappropriated lOLA Funds"

 totaling approximately $8 million [Bankr. Docket No.1]. Other former clients have also

 asserted similar claims against the Debtor, such that known claims for missing escrow

 funds total approximately $17 million.




    References to "Bankr. Docket No._" refer to the docket of the Chapter 7 Case, Case No. 21-10699
    (DSJ) (Bankr. S.D.N.Y.). References to "S.D.N.Y. Docket No._" refer to the docket of the Appeal
    (defined below), Case No. 1:21-cv-07122-AKH (S.D.N.Y.).




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              5.     The Debtor did not appear in response to the Involuntary Petition,

 and on May 11, 2021, the Bankruptcy Court entered the Order for Relief and Order to File

 Schedules and Other Documents [Bankr. Docket No. 14] (the "Order for Relief").

              6.     The Order for Relief directs the Debtor to file "all schedules,

 statements, lists and other documents that are required under the Federal and Local

 Rules of Bankruptcy Procedure" (the "Schedules") no later than May 25, 2021. See

 Bankr. Docket No. 14.

              7.     On May 12, 2021, Mr. Togut was appointed as the Chapter 7

 Interim Trustee of the Debtor, accepted his appointment, and duly qualified.

              8.     The Debtor has not yet filed any of the Schedules.

 II.   The Trustee's Attempts to Obtain Discovery from Kosso££

              9.     The Trustee has sought Kossoff' s assistance in collecting the

 Debtor's documents and information that is needed for the Trustee's investigation of

 the Debtor's affairs. Among other things, the Trustee has requested that Kossoff

 produce categories of the Debtor's documents and information (the "Requested

 Information"), including:

                     a. List of the Debtor's bank accounts with account numbers;

                     b. Bank records;

                     c. Cash receipts journals;

                     d. Cash disbursements journals;

                     e. Credit card records;

                     f. Client lists;


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                            g. List of accounts receivable and amounts;

                            h. Records required pursuant to N.Y. Code of Professional
                               Responsibility Rule 1.15 (22 N.Y.C.R.R. § 1200.0,
                               including records of all deposits and withdrawals from
                               accounts specified in subsection (b);

                            i.   Inventories of seized records provided by law
                                 enforcement;

                            j.   All of these documents and information are required by
                                 the Order for Relief and Bankruptcy Rule 1007; and

                            k. Other documents as requested by the Trustee.

                    10.     Kosso££ repeatedly told the Bankruptcy Court and the Trustee that

 he is unwilling to identify or produce documents to the Trustee and that he will assert a

 privilege against self-incrimination under the Fifth Amendment unless the Bankruptcy

 Court grants him broad immunity because he is being investigated by the Manhattan

 District Attorney (the "DA"). 2 In response to the Trustee's requests, Kosso££ asserted a

 blanket Fifth Amendment privilege. See, e.g., Bankr. Docket No. 30.

 III.       The Trustee's Rule 2004 Motion and Related Orders

                    11.     On May 24, 2021, the Trustee filed the Chapter 7 Interim Trustee's Ex

 Parte Application for an Order (I) Directing the Preservation of Documents and Recorded

 Information and (II) Authorizing the Issuance of Subpoenas for the Production of Documents

 and Depositions Testimony Pursuant to Rule 2004 of the Federal Rules of Bankruptcy

 Procedure [Bankr. Docket No. 26] (the "Rule 2004 Motion").

 2
        Kossoff has advised the Trustee that an investigation by the United States Attorney for the Eastern
        District of New York has been closed.




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                   12.    Also on May 24,2021, the Bankruptcy Court entered the Order

 Authorizing Trustee to Issue Subpoenas and Obtain Testimony and for Injunctive Relief

 [Bankr. Docket No. 27] (the "Initial Rule 2004 Order").

                   13.    On May 26,2021, counsel for the Debtor, Kosso££, and Kossoff's

 affiliated entity Tenantracers, LLC filed an opposition to the Rule 2004 Motion,

 asserting that "Mr. Kosso££ intends to invoke his Fifth Amendment privilege against

 self-incrimination and will refuse to answer questions that may tend to incriminate

 him." See Bankr. Docket No. 30 p. 2. He also asserted that "Mr. Kosso££ alone would be

 the only person to properly identify, collect, describe and submit documents to the

 Bankruptcy Court or its Trustee. Id. at p. 3.

                   14.    Pursuant to the Initial Rule 2004 Order, the Bankruptcy Court

 conducted a preliminary injunction hearing on May 27,2021.

                   15.    On June 4, 2021, Walter Mack, Kosso££' s counsel, filed the Objection

 to Preliminary Injunction Order and Trustee Issuance of Subpoenas for Testimony and

 Documents [Bankr. Docket No. 48].

                   16.    Pursuant to the Order Scheduling Final Hearing to Consider Injunctive

 Relief[Bankr. Docket No. 33], the Bankruptcy Court held a final hearing to consider the

 injunctive relief sought by the Trustee on June 10, 2021. Later that day, the Bankruptcy

 Court entered the Final Order Granting Injunctive Relief[Bankr. Docket No. 62]. 3


 3
     The Trustee also filed a second motion based upon Bankruptcy Rule 2004; specifically, on June 18,
     2021, the Trustee filed the Chapter 7 Interim Trustee's Application for Entry of an Order Enforcing
     Automatic Stay and Directing Mitchell H. Kossoff and Tenantracers, LLC to Provide the Trustee with Access
 ... (continued)

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 IV.      The Designation Order and Related Filings

                  17.      On May 28,2021, the Trustee filed the Application for an Order (A)

 Designating Mitchell H. Kossoff as the Responsible Officer of the Debtor and (B) Compelling

 Him to (1) Produce Information Requested by the Chapter 7 Trustee; (2) Appear for

 Examinations Under Oath at the Bankruptcy Code Section 341 Meeting of Creditors; and (3)

 Otherwise Cooperate with the Chapter 7 Trustee [Bankr. Docket No. 36] (the "Designation

 Motion"). The Designation Motion sought, among other things, an order directing

 Kosso££ to produce Debtor documents and information, including the Requested

 Information.

                  18.      On June 16, 2021, Kosso££ filed the Objection to Bankruptcy Trustee's

 Application for an Order (A) Designating Mitchell H. Kossoff as the Responsible Officer of the

 Debtor and (B) Compelling Him to (1) Produce Information Requested by the Chapter 7 Trustee;

 (2) Appear for Examination Under Oath at the Bankruptcy Code Section 341 Meeting of

 Creditors; and (3) Otherwise Cooperate with the Chapter 7 Trustee and Motion to Quash All

 Subpoenas Compelling Testimony or Document Production from Him, His Fiduciaries or His

 Defense Team [Bankr. Docket No. 80] and the memorandum of law in support of thereof

 [Bankr. Docket No. 80-1].

                  19.      On June 22, 2021, the Trustee filed the Chapter 7 Trustee's Reply to

 Objection to Bankruptcy Trustee's Application for an Order (A) Designating Mitchell H .


 ... (continued)
       to the Fifth Floor Premises to Inspect and Take Possession of Property of the Estate [Bankr. Docket No. 85]
       (the" Access Motion"). On July 12,2021, the Bankruptcy Court granted the Access Motion [Bankr.
       Docket No. 117].



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 Kossoff as the Responsible Officer of the Debtor and (B) Compelling Him to (1) Produce

 Information Requested by Chapter 7 Trustee; (2) Appear for Examination Under Oath at the

 Bankruptcy Code 341 Meeting of Creditors; and (3) Otherwise Cooperate with the Chapter 7

 Trustee and Motion to Quash All Subpoenas Compelling Testimony and Document Production

from Him, His Fiduciaries or His Defense Team [Bankr. Docket No. 89].

                20.    The Bankruptcy Court conducted a hearing on June 24, 2021 to

 consider the Designation Motion and the pleadings filed in connection with it (the "June

 24 Hearing"). See Bankr. Docket No. 86.

                21.    During the June 24 Hearing, the Bankruptcy Court observed "that

 blanket assertions are insufficient and that the party asserting the privilege needs to

 explain at least in circumstances where the applicability of the asserting the privilege

 isn't self-evident why it applies." June 24, 2021 Hr' g Tr. at 8:18-21; see also id. at 23:15-

 23 (" .. .I do take the view and agree with the trustee that- and the law that a blanket

 invocation of the privilege is insufficient. . . . [T]he Court has to assess the implications

 of particular questions when asked and assess whether there is an evidence risk of

 incrimination posed by the inquiry. And if not, the Court has the duty of inquiry to

 determine whether or not there is such a reasonable risk presented."). The Bankruptcy

 Court also observed that the Trustee is trying to do "very important work to try to help

 resolve the affairs of the estate." Id. at 41:21-25.

                22.    On June 25, 2021, the Bankruptcy Court entered the Order

 Designating Mitchell H. Kossoff as the Responsible Officer of the Debtor [Bankr. Docket No.




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 93] (the "Designation Order"), which provides that "Kosso££ is designated as the person

 responsible for performing the Debtor's duties in this case .... "

                23.   The Designation Order is now final, having never been challenged

 after entry.

                24.   The Designation Order provides, among other things, that counsel

 for the Trustee and Kosso££ would promptly meet and confer in good faith concerning

 Kossoff's duties and the identity of the documents Kossoff will produce to the Trustee,

 including the Requested Information and all copies and/ or electronic back-up materials

 of them, and describe which items he will not produce to the Trustee. See Docket No.

 93.

                25.   The Designation Order further provides that "if Kosso££ takes the

 view that identifying documents he possesses would violate his Fifth Amendment right

 of self-incrimination, Kossoff shall so state, with as specific reference as possible

 consistent with his Fifth Amendment privilege concern to the records or types of

 records at issue." Id.

                26.   On June 25,2021 and June 30, 2021, counsel for the Trustee and

 Kosso££ met and conferred regarding Kosso££' s duties and the identity of documents

 that Kosso££ would be willing to produce to the Trustee. See Bankr. Docket No. 93.

                27.   On July 1, 2021, the Trustee filed the Notice of Filing of Meet and

 Confer Status Report Pursuant to June 25, 2021 Order [Bankr. Docket No. 105] (the "Status

 Report").




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                   28.    As set forth in the Status Report, Kossoff's counsel produced three

 categories of Requested Information to the Trustee: (1) a list of the Debtor's bank

 accounts with account numbers, though certain numbers appear to be incomplete;

 (2) inventories of records seized by law enforcement (which were prepared by law

 enforcement); and (3) certain organizational documents of the Debtor, including the

 Debtor's articles of organization as filed with the New York Secretary of State and its

 operating agreement. See Bankr. Docket No. 105. In addition, Kosso££ agreed to allow

 the Trustee access to the offices located on the fifth floor of the Premises to collect

 responsive documentation. See id.

                   29.   The Trustee has asserted that Kosso££ has failed to produce any of

 the current, relevant Debtor's bank records, cash receipt journals, credit card records,

 and records that are required to be maintained by law firms pursuant to N.Y. Code of

 Professional Responsibility D.R. 9-1024 (collectively, the" Additional Disputed

 Records"). See id. 5 Kosso££ contests that assertion, and during the November 16,2021

 hearing conducted by this Court, represented to the Court that he has turned over to the

 Trustee all of the relevant documents in his possession, custody and control, with

 exception to documents that are identified in the privilege log that is attached as an




 4
     See also N.Y. Code of Professional Responsibility Rule 1.15 (22 N.Y.C.R.R. § 1200.0).

 5
     The Trustee advised the Bankruptcy Court that on July 15, 2021, Kossoff's counsel permitted the
     Trustee's accountants to remove limited documents from the Fifth Floor Premises, as required by the
     Bankruptcy Court's order granting the Access Motion, but that with the possible exception of certain
     Debtor payable invoices and paid accounts receivable invoices, all that was made available were
 ... (continued)


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 exhibit to Docket No. 252. Without conceding the existence or possession, custody, or

 control of the Additional Disputed Records, Kosso££ refused to produce additional

 documents absent an adjudication by the Bankruptcy Court.

                   30.     Kosso££ has also failed to prepare the Schedules, or to produce a list

 of accounts receivable, absent assurances from the Trustee that doing so would not

 constitute a violation of Kosso££' s Fifth Amendment privilege. See id. 6 Kosso££ has

 taken this position even though the Debtor issued invoices to its clients during the

 months immediately preceding the Petition Date.

 V.       The Order to Compel

                   31.     On July 22,2021, the Bankruptcy Court conducted a hearing to

 consider Kosso££' s obligations (the "July 22 Hearing").

                   32.     On August 5, 2021, the Bankruptcy Court entered the Order

 Compelling Mitchell H. Kossoff to (1) Produce Information and Documents Required by the

 Chapter 7 Trustee; (2) Appear for Examination at Section 341 Meetings of Creditors; and

 (3) Otherwise Cooperate with the Chapter 7 Trustee [Bankr. Docket No. 137] (the "Order to

 Compel").

                   33.     Among other things, the Order to Compel provides that "the

collective entity doctrine overrides and renders inapplicable privileges, including the

 ... (continued)
      dated documents, none of which appear to be useful in determining what happened to the nearly $17
      million of funds sought by creditors of the Debtor.
6
      While Kosso££ has advised that no comprehensive client list is within his possession, custody, or
      control, he has declined to attempt to construct such a list based on his recollection or available
      documentation absent the assurances described here. See id.




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 Fifth Amendment privilege against self-incrimination and the act of production

 privilege, for acts of production compelled to be performed by Kossoff who, by reason

 of the Designation Order, is acting not in his individual capacity but in his

 representative capacity on behalf of the Debtor."

               34.    The Order to Compel further directs Kossoff to:

                      a. "[N]ot individually, but in his representative capacity of
                         the Debtor, ... take all steps necessary to perform the
                         Debtor's duties pursuant to the Order for Relief and the
                         Designation Order, including the preparation of the
                         Debtor's Schedules ... ;"

                      b. "[F]or the reasons set forth on the record of the July 22
                         Hearing, not individually but in his representative
                         capacity as the Court-appointed responsible officer of the
                         Debtor ... take all steps necessary to obtain all of the
                         Requested Information and the Additional Disputed
                         Records including but not limited to the known creditors
                         of the Debtor, current and former clients of the Debtor,
                         internal bank receipts and disbursements records, and
                         accounts receivable records of the Debtor, and all lOLA
                         records required to be maintained by the Debtor, in his
                         possession, custody or control, and to produce them
                         and/ or cause them to be produced to the Trustee ... ;"

                      c. "[F]or the reasons set forth on the record at the July 22
                         Hearing, ... appear for examination under oath not
                         individually but in his representative capacity on behalf
                         of the Debtor at the Section 341 Meeting in this case and
                         at any adjourned dates of such meeting ... ;" and

                      d. "[F]or the reasons set forth on the record at the July 22
                         Hearing, Kossoff, not individually but in his
                         representative capacity, is directed to otherwise fully
                         cooperate with the Trustee on behalf of the Debtor in
                         accordance with Bankruptcy Code section 521 ... "
                                                         /

 VI.   The Appeal and Attempts to Stay the Order to Compel Pending Appeal



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               35.     On August 18, 2021, Kossoff and the Debtor (together, the

 "Appellants") filed a notice of appeal [Bankr. Docket No. 144], seeking to commence an

 appeal the Order to Compel (the" Appeal").

               36.     Also on August 18, 2021, Appellants filed the Motion for Leave to

Appeal [Bankr. Docket No. 145] (the "Motion for Leave to Appeal") in the Bankruptcy

 Court, in which both the Debtor and Kosso££ sought leave to appeal the Order to

 Compel. 7

               37.     On September 1, 2021, the Trustee filed the Chapter 7 Interim

 Trustee's Opposition to Motion for Leave to Appeal [S.D.N.Y. Docket No.5]. On September

16, 2021, Appellants filed the Reply Memorandum of Law in Further Support of Motion for

 Leave to Appeal [S.D.N.Y. Docket No. 10].

               38.     On August 19,2021, Appellants filed in the Bankruptcy Court the

 Debtor's Motion for Limited Stay Pending Appeal of the August 5, 2021 Order Holding the

 Fifth Amendment Inapplicable to Debtor and Compelling Mitchell Kossoff to Create Documents,

 to Appear for Examination at the Creditor Committee Meeting, and to Produce Documents and

 Other Information [Bankr. Docket No. 147] (the "Bankruptcy Court Stay Motion").

               39.     On September 7, 2021, the Trustee filed the Chapter 7 Interim

 Trustee's Objection to Motion for Limited Stay Pending Appeal of August 5, 2021 Order

 [Bankr. Docket No. 156].



7
    The Motion for Leave to Appeal was docketed on the District Court's docket on August 24, 2021
    [S.D.N.Y. Docket No.3].




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               40.    On September 10, 2021, Appellants filed the Movants' Reply in

 Further Support of Motion for Limited Stay Pending Appeal of the August 5, 2021 Order

Holding the Fifth Amendment Privilege Against Self-Incrimination Inapplicable to Debtor and

 Compelling Mitchell Kossoff to Create Documents, to Appear for Examination at the Creditor

 Committee Meeting, and to Produce Documents and Other Information [Bankr. Docket No.

167], which the Trustee opposed.

               41.    The Bankruptcy Court conducted a hearing to consider the

Bankruptcy Court Stay Motion on September 14,2021 (the "September 14 Hearing").

               42.    On September 23,2021, the Bankruptcy Court entered its Order

 Denying Motion for Stay Pending Appeal [Bankr. Docket No. 178].

               43.    With the Order Denying Motion to Appeal, dated September 30, 2021,

 the Appeal and the request to stay pending appeal were denied by the District Court

 [S.D.N.Y. Docket No. 17].

VII.    Kossoff' s Continued Non-Compliance with the Order to Compel

               44.    I am advised by the Trustee's counsel that the parties had

 telephonic discussions concerning Kossoff' s cooperation with the Trustee following

entry of the District Court's Order Denying Motion to Appeal and the associated request

for stay. The Trustee has represented to the Court that the Kossoff Production is

 deficient and fails to fully comply with the Order to Compel, and Kossoff disputes that

contention.

               45.    As of the date hereof, Kossoff has failed to prepare and file the

Schedules and he has not yet appeared for examination at a section 341 meeting because


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 he has failed to file a list of the Debtor's creditors. Kosso££' s failure to fully comply with

 the Order to Compel impedes the Trustee's efforts to conduct his investigation of the

 Debtor's affairs as mandated by Bankruptcy Code section 704. Such failure continues to

 increase the administrative costs and expenses of the Debtor's estate, which prejudices

 the Debtor's creditors.

               46.     It is the finding of this Court that Kosso££ has deliberately and

 willfully failed to comply with this Court's Order to Compel despite having been given

 an adequate opportunity to do so. Kosso££ has not only refused the Trustee's request

 for specific documents and information requested, but has refused to complete the

 Schedules or participate in a Section 341 Meeting as well.

               THE UNDERSIGNED CERTIFIES THE FOREGOING FACTS, AND

 FINDS THAT THE SAID MITCHELL H. KOSSOFF HAS COMMITTED A CIVIL

 CONTEMPT OF COURT, WHICH CONTINUES TO DATE. IT IS THIS COURT'S

 RECOMMENDATION THAT MITCHELL H. KOSSOFF BE INCARCERATED UNTIL

 SUCH TIME THAT HE COMPLIES WITH THE BANKRUPTCY COURT'S ORDER TO

 COMPEL IN ITS ENTIRETY, AND THAT THE BANKRUPTCY COURT ISSUE A

 WARRANT FOR HIS ARREST.

               The following is included with this certificate and are a part hereof:

                       (a)    The Designation Order [Docket No. 93] (Exhibit "1");

                       (b)    The Order to Compel [Docket No. 137] (Exhibit "2");




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                   (c)   Chapter 7 Interim Trustee's Application for Order Holding

                         Mitchell H. Kossoff in Civil Contempt for Failure to Comply with

                         Order to Compel [Docket No. 218] (Exhibit "3");

                   (d)   Mitchell H. Kossoffs Submission In Opposition To The Trustee's

                         Motion For Contempt [Docket No. 249] (Exhibit "4");

                   (e)   Trustee's Reply In Support of Chapter 7 Interim Trustee's

                         Application For Order Holding Mitchell H. Kossoff In Civil

                         Contempt For Failure To Comply With Order to Compel [Docket

                         No. 252] (Exhibit "5);

                   (f)   September 30,2021 District Court Order Denying Motion To

                         Appeal [S.D.N.Y., 21 Civ. 7122, Docket No. 17] (Exhibit "6");

                         and

                   (g)   Transcript of hearing held to consider the Chapter 7 Interim

                         Trustee's Application for Order Holding Mitchell H. Kossoff in

                         Civil Contempt for Failure to Comply with Order to Compel

                         (Exhibit "7").

 Dated: New York, New York
        November     2021
                  ___J




                                          HONORABLE DAVID S. JONES
                                          UNITED STATES BANKRUPTCY JUDGE




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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------- )(

                       In the Matter                                 Chapter 7
                                                                     Case No. 21-10699 (DSJ)
                          -of-

 KOSSOFF PLLC,
                                                                     Civ. Docket No.:

                                            Debtor.

 -------------------------------------------------------------- )(

                                      CERTIFICATION OF CONTEMPT

 TO THE HONORABLE JUDGE OF THE
 UNITED STATES DISTRICT COURT,
 FOR THE SOUTHERN DISTRICT OF NEW YORK:

                   I, DavidS. Jones, a United States Bankruptcy Judge in this District

 presiding over the above-captioned case originally commenced by creditors of Kosso££

 PLLC (the "Debtor"), after a hearing and good and sufficient notice to Mitchell H.

 Kosso££ ("Kosso££") following a motion by Albert Togut, not individually, but solely in

 his capacity as the Chapter 7 Interim Trustee (the "Trustee"), do hereby certify to the

 United States District Court for the Southern District of New York that:

I.       The Chapter 7 Case

                  1.        On April13, 2021 (the "Petition Date"), creditors of the Debtor

 (collectively, the "Petitioning Creditors") filed an involuntary petition for relief under

 Chapter 7 of the Bankruptcy Code (the "Involuntary Petition") in the United States

Bankruptcy Court for the Southern District of New York (the "Bankruptcy Court")
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 against the Debtor in the above-captioned Chapter 7 case (the "Chapter 7 Case").

               2.      Prior to the Petition Date, the Debtor operated as a law firm located

 at 217 Broadway in New York City, New York, and serviced clients in the real estate

industry. See Bankr. Docket No. 26-4 ~ 10. 1 The Debtor held itself out as providing

 full-service real estate legal services specializing in litigation and transactional matters

 related to areas of real property law, including leasing, sale and acquisition of real

 property interests, commercial landlord tenant matters, real estate litigation, and city,

 state and federal agency regulatory matters. See id.

               3.      The Debtor was a professional limited liability company, organized

 under the laws of New York, and Kossoff was its sole member. See Bankr. Docket No.

116, Ex. 3 (Articles of Organization and Operating Agreement); see also Bankr. Docket

 No. 30; Bankr. Docket No. 30-1.

               4.      The Manhattan District Attorney's Office executed a search warrant

 at Mr. Kossoff' s offices in mid-April, 2021, and seized voluminous files, computers, and

 computer records related to the financial affairs of Mr. Kossoff and his law practice.

Bankr. Docket No. 116. Those materials remain in the custody of the District Attorney

 and have not been returned to Mr. Kossoff. (Id.) The District Attorney has refused to




    References to "Bankr. Docket No._" refer to the docket of the Chapter 7 Case, Case No. 21-10699
    (DSJ) (Bankr. S.D.N.Y.). References to "S.D.N.Y. Docket No._" refer to the docket of the Appeal
    (defined below), Case No. 1:21-cv-07122-AKH (S.D.N.Y.).




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 make the seized records available to the Trustee and the Trustee has moved to compel

 their production. Bankr. Docket No. 217.

              5.     The Petitioning Creditors are clients of the Debtor and together

 assert claims for "Unreturned lOLA Funds" and "Misappropriated lOLA Funds"

 totaling approximately $8 million [Bankr. Docket No.1]. Other former clients have also

 asserted similar claims against the Debtor, such that known claims for missing escrow

 funds total approximately $17 million.

              6.     The Debtor did not appear in response to the Involuntary Petition,

 and on May 11, 2021, the Bankruptcy Court entered the Order for Relief and Order to File

 Schedules and Other Documents [Bankr. Docket No. 14] (the "Order for Relief").

              7.     The Order for Relief directs the Debtor to file" all schedules,

 statements, lists and other documents that are required under the Federal and Local

 Rules of Bankruptcy Procedure" (the "Schedules") no later than May 25, 2021. See

 Bankr. Docket No. 14.

              8.     On May 12, 2021, Mr. Togut was appointed as the Chapter 7

 Interim Trustee of the Debtor, accepted his appointment, and duly qualified.

              9.     The Debtor has not yet filed any of the Schedules.

 II.   The Trustee's Attempts to Obtain Discovery from Kossoff

              10.    The Trustee has sought Kossoff's assistance in collecting the

 Debtor's documents and information that is needed for the Trustee's investigation of

 the Debtor's affairs. Among other things, the Trustee has requested that Kosso££




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 produce categories of the Debtor's documents and information (the "Requested

 Information"), including:

                     a. List of the Debtor's bank accounts with account numbers;

                     b. Bank records;

                     c. Cash receipts journals;

                     d. Cash disbursements journals;

                     e. Credit card records;

                     f. Client lists;

                     g. List of accounts receivable and amounts;

                     h. Records required pursuant to N.Y. Code of Professional
                        Responsibility Rule 1.15 (22 N.Y.C.R.R. § 1200.0,
                        including records of all deposits and withdrawals from
                        accounts specified in subsection (b);

                     i.   Inventories of seized records provided by law
                          enforcement;

                     j.   All of these documents and information are required by
                          the Order for Relief and Bankruptcy Rule 1007; and

                     k. Other documents as requested by the Trustee.

              11.    Kosso££ initially told the Bankruptcy Court and the Trustee that he

 was unwilling to identify or produce documents to the Trustee and that he would assert

 a privilege against self-incrimination under the Fifth Amendment unless the

 Bankruptcy Court granted him broad immunity pursuant to Bankruptcy Rule 344




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 because he is being investigated by the Manhattan District Attorney (the "DA"). 2 In

 response to the Trustee's requests, Kosso££ asserted a blanket Fifth Amendment

 privilege. See, e.g., Bankr. Docket No. 30. Kosso££ contests this assertion and states that

 as long ago as July 9, 2021, he offered to make an in camera presentation to the Court as

 to why each document sought was self-incriminating to Mr. Kossoff. Bankr. Docket No.

 116 [#1]. Furthermore, in his filing on November 11, 2021, [Bankr. Court Docket No.

 249] Mr. Kosso££ specifically stated he would invoke the privilege on a question-by-

 question basis in accordance with the District Court's September 30, 2021 opinion, and

 reiterated this fact at the November 16th hearing before the Bankruptcy Court.

 III.      The Trustee's Rule 2004 Motion and Related Orders

                    12.     On May 24, 2021, the Trustee filed the Chapter 7 Interim Trustee's Ex

 Parte Application for an Order (I) Directing the Preservation of Documents and Recorded

 Information and (II) Authorizing the Issuance of Subpoenas for the Production of Documents

 and Depositions Testimony Pursuant to Rule 2004 of the Federal Rules of Bankruptcy

 Procedure [Bankr. Docket No. 26] (the "Rule 2004 Motion").

                    13.     Also on May 24,2021, the Bankruptcy Court entered the Order

 Authorizing Trustee to Issue Subpoenas and Obtain Testimony and for Injunctive Relief

 [Bankr. Docket No. 27] (the "Initial Rule 2004 Order").




 2
        Kossoff has advised the Trustee that an investigation by the United States Attorney for the Eastern
        District of New York has been closed.




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                   14.      On May 26,2021, counsel for the Debtor, Kosso££, and Kossoff's

 affiliated entity Tenantracers, LLC filed an opposition to the Rule 2004 Motion,

 asserting that "Mr. Kosso££ intends to invoke his Fifth Amendment privilege against

 self-incrimination and will refuse to answer questions that may tend to incriminate

 him." See Bankr. Docket No. 30 p. 2. He also asserted that "Mr. Kossoff alone would be

 the only person to properly identify, collect, describe and submit documents to the

 Bankruptcy Court or its Trustee. Id. at p. 3.

                   15.      Pursuant to the Initial Rule 2004 Order, the Bankruptcy Court

 conducted a preliminary injunction hearing on May 27,2021.

                    16.     On June 4, 2021, Walter Mack, Kossoff's counsel, filed the Objection

 to Preliminary Injunction Order and Trustee Issuance of Subpoenas for Testimony and

 Documents [Bankr. Docket No. 48].

                    17.     Pursuant to the Order Scheduling Final Hearing to Consider Injunctive

 Relief[Bankr. Docket No. 33], the Bankruptcy Court held a final hearing to consider the

 injunctive relief sought by the Trustee on June 10, 2021. Later that day, the Bankruptcy

 Court entered the Final Order Granting Injunctive Relief[Bankr. Docket No. 62]. 3

 IV.       The Designation Order and Related Filings




 3
       The Trustee also filed a second motion based upon Bankruptcy Rule 2004; specifically, on June 18,
       2021, the Trustee filed the Chapter 7 Interim Trustee's Application for Entry of an Order Enforcing
       Automatic Stay and Directing Mitchell H. Kossoff and Tenantracers, LLC to Provide the Trustee with Access
       to the Fifth Floor Premises to Inspect and Take Possession of Property of the Estate [Bankr. Docket No. 85]
       (the" Access Motion"). On July 12, 2021, the Bankruptcy Court granted the Access Motion [Bankr.
       Docket No. 117].



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                18.    On May 28, 2021, the Trustee filed the Application for an Order (A)

 Designating Mitchell H. Kossoff as the Responsible Officer of the Debtor and (B) Compelling

 Him to (1) Produce Information Requested by the Chapter 7 Trustee; (2) Appear for

 Examinations Under Oath at the Bankruptcy Code Section 341 Meeting of Creditors; and (3)

 Otherwise Cooperate with the Chapter 7 Trustee [Bankr. Docket No. 36] (the "Designation

 Motion"). The Designation Motion sought, among other things, an order directing

 Kossoff to produce Debtor documents and information, including the Requested

 Information.

                19.    On June 16, 2021, Kossoff filed the Objection to Bankruptcy Trustee's

 Application for an Order (A) Designating Mitchell H. Kossoff as the Responsible Officer of the

 Debtor and (B) Compelling Him to (1) Produce Information Requested by the Chapter 7 Trustee;

 (2) Appear for Examination Under Oath at the Bankruptcy Code Section 341 Meeting of

 Creditors; and (3) Otherwise Cooperate with the Chapter 7 Trustee and Motion to Quash All

 Subpoenas Compelling Testimony or Document Production from Him, His Fiduciaries or His

 Defense Team [Bankr. Docket No. 80] and the memorandum of law in support of thereof,

 which asserted Mr. Kossoff's Fifth Amendment privilege, including the act-of-

 production privilege. [Bankr. Docket No. 80-1].

                20.    On June 22,2021, the Trustee filed the Chapter 7 Trustee's Reply to

 Objection to Bankruptcy Trustee's Application for an Order (A) Designating Mitchell H.

 Kossoff as the Responsible Officer of the Debtor and (B) Compelling Him to (1) Produce

 Information Requested by Chapter 7 Trustee; (2) Appear for Examination Under Oath at the

 Bankruptcy Code 341 Meeting of Creditors; and (3) Otherwise Cooperate with the Chapter 7


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 Trustee and Motion to Quash All Subpoenas Compelling Testimony and Document Production

 from Him, His Fiduciaries or His Defense Team [Bankr. Docket No. 89].

                21.    The Bankruptcy Court conducted a hearing on June 24, 2021 to

 consider the Designation Motion and the pleadings filed in connection with it (the "June

 24 Hearing"). See Bankr. Docket No. 86.

                22.    During the June 24 Hearing, the Bankruptcy Court observed "that

 blanket assertions are insufficient and that the party asserting the privilege needs to

 explain at least in circumstances where the applicability of the asserting the privilege

 isn't self-evident why it applies." June 24, 2021 Hr' g Tr. at 8:18-21; see also id. at 23:15-

 23 (" .. .I do take the view and agree with the trustee that- and the law that a blanket

 invocation of the privilege is insufficient. . . . [T]he Court has to assess the implications

 of particular questions when asked and assess whether there is an evidence risk of

 incrimination posed by the inquiry. And if not, the Court has the duty of inquiry to

 determine whether or not there is such a reasonable risk presented."). The Bankruptcy

 Court also observed that the Trustee is trying to do "very important work to try to help

 resolve the affairs of the estate." Id. at 41:21-25.

                23.    On June 25, 2021, the Bankruptcy Court entered the Order

 Designating Mitchell H. Kossoff as the Responsible Officer of the Debtor [Bankr. Docket No.

 93] (the "Designation Order"), which provides that "Kosso££ is designated as the person

 responsible for performing the Debtor's duties in this case . ... "




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               24.    The Designation Order is now final, having never been challenged

 after entry. However, the Designation Order specifically carved out and preserved Mr.

 Kosso££' s right to invoke the Fifth Amendment and established a procedure for doing so

 and for resolving such objections. The Designation Order states in bold-type: "[I]f

 Kosso££ takes the view that identifying documents he possesses would violate his

 Fifth Amendment right against self-incrimination, Kosso££ shall so state with as

 specific reference as possible consistent with his Fifth Amendment privilege concern

 to the records or types of records at issue."

               25.    The Designation Order then further provides a procedure for

 resolving such objections: the parties are to meet and confer, report back to the Court,

 and propose a schedule for supplemental submissions to address any remaining

 disputes regarding Mr. Kossoff' s duties and document production obligations. [Bank.

 Court Docket No. 93 at p.2]. The parties followed that procedure and on July 2, 2021,

 this Court entered an Order setting a briefing schedule for supplemental submissions.

 Bankr. Court Docket No. 108.

               26.    On June 25,2021 and June 30, 2021, counsel for the Trustee and

 Kossoff met and conferred regarding Kossoff' s duties and the identity of documents

 that Kosso££ would be willing to produce to the Trustee. See Bankr. Docket No. 93.




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                   27.    On July 1, 2021, the Trustee filed the Notice of Filing of Meet and

 Confer Status Report Pursuant to June 25, 2021 Order [Bankr. Docket No. 105] (the "Status

 Report").

                   28.    As set forth in the Status Report, Kossoff's counsel produced three

 categories of Requested Information to the Trustee: (1) a list of the Debtor's bank

 accounts with account numbers, though certain numbers appear to be incomplete;

 (2) inventories of records seized by law enforcement (which were prepared by law

 enforcement); and (3) certain organizational documents of the Debtor, including the

 Debtor's articles of organization as filed with the New York Secretary of State and its

 operating agreement. See Bankr. Docket No. 105. In addition, Kosso££ agreed to allow

 the Trustee access to the offices located on the fifth floor of the Premises to collect

 responsive documentation. See id.

                   29.    The Trustee asserted that Kosso££ failed to produce any of the

 current, relevant Debtor's bank records, cash receipt journals, credit card records, and

 records that are required to be maintained by law firms pursuant to N.Y. Code of

 Professional Responsibility D.R. 9-1024 (collectively, the" Additional Disputed

 Records"). See id. 5 Without conceding the existence or possession, custody, or control



 4
     See also N.Y. Code of Professional Responsibility Rule 1.15 (22 N.Y.C.R.R. § 1200.0).

 5
     The Trustee advised the Bankruptcy Court that on July 15, 2021, Kossoff' s counsel permitted the
     Trustee's accountants to remove limited documents from the Fifth Floor Premises, as required by the
     Bankruptcy Court's order granting the Access Motion, but that with the possible exception of certain
     Debtor payable invoices and paid accounts receivable invoices, all that was made available were
     dated documents, none of which appear to be useful in determining what happened to the nearly $17
 ... (continued)


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 of the Additional Disputed Records, Kosso££ refused to produce additional documents

 absent an adjudication by the Bankruptcy Court.

                   30.    In his July 9, 2021 submission, Mr. Kosso££ again invoked his Fifth

 Amendment rights, including the act-of-production privilege and offered to make an in

 camera submission to the Bankruptcy Court providing an explanation as to why the

 information sought and the documents requested, without conceding their existence,

 would be self-incriminating to produce and would violate Mr. Kossoff's Constitutional

 rights. Bankr. Docket No. 116 [#1].

                   31.    Kosso££ also failed to prepare the Schedules, or to produce a list of

 accounts receivable, absent assurances from the Trustee that doing so would not

 constitute a violation of Kossoff's Fifth Amendment privilege. See id. 6 Mr. Kosso££ has

 stated frequently and as recently as the November 16, 2021 hearing, that most of the

 documents were seized by the District Attorney's Office in April2021, and Kosso££ does

 not have posseesion custody or control of the documents sought by the trustee.

 Furthermore, counsel for Mr. Kosso££ represented at the November 16 conference that

 Mr. Kosso££ was prepared to submit the schedules and to assert, where he believed



 ... (continued)
     million of funds sought by creditors of the Debtor. The District Attorney's Office had seized most of
     the pertinent documents.
 6
     While Kossoff has advised that no comprehensive client list is within his possession, custody, or
     control, he has declined to attempt to construct such a list based on his recollection or available
     documentation absent the assurances described here. See id.




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 appropriate, an invocation of Mr. Kossoff's Fifth Amendment privilege for a

 determination by the Bankruptcy Court, subject to appellate review.

 V.     The Order to Compel

                32.   On July 22,2021, the Bankruptcy Court conducted a hearing to

 consider Kossoff's obligations (the "July 22 Hearing"). The Court heard argument from

 counsel and never afforded or requested that Debtor's counsel make the in camera offer

 of proof regarding the self-incriminatory nature of the requested documents and

 information.

                33.   On August 5, 2021, the Bankruptcy Court entered the Order

 Compelling Mitchell H. Kossoff to (1) Produce Information and Documents Required by the

 Chapter 7 Trustee; (2) Appear for Examination at Section 341 Meetings of Creditors; and

 (3) Otherwise Cooperate with the Chapter 7 Trustee [Bankr. Docket No. 137] (the "Order to

 Compel").

                34.   Among other things, the Order to Compel provides that "the

 collective entity doctrine overrides and renders inapplicable privileges, including the

 Fifth Amendment privilege against self-incrimination and the act of production

 privilege, for acts of production compelled to be performed by Kosso££ who, by reason

 of the Designation Order, is acting not in his individual capacity but in his

 representative capacity on behalf of the Debtor."

                35.   The Order to Compel further directs Kosso££ to:

                      a. "[N]ot individually, but in his representative capacity of
                         the Debtor, ... take all steps necessary to perform the


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                        Debtor's duties pursuant to the Order for Relief and the
                        Designation Order, including the preparation of the
                        Debtor's Schedules ... ;"

                     b. "[F]or the reasons set forth on the record of the July 22
                        Hearing, not individually but in his representative
                        capacity as the Court-appointed responsible officer of the
                        Debtor ... take all steps necessary to obtain all of the
                        Requested Information and the Additional Disputed
                        Records including but not limited to the known creditors
                        of the Debtor, current and former clients of the Debtor,
                        internal bank receipts and disbursements records, and
                        accounts receivable records of the Debtor, and all lOLA
                        records required to be maintained by the Debtor, in his
                        possession, custody or control, and to produce them
                        and/ or cause them to be produced to the Trustee ... ;"

                     c. "[F]or the reasons set forth on the record at the July 22
                        Hearing, ... appear for examination under oath not
                        individually but in his representative capacity on behalf
                        of the Debtor at the Section 341 Meeting in this case and
                        at any adjourned dates of such meeting ... ;" and

                     d. "[F]or the reasons set forth on the record at the July 22
                        Hearing, Kosso££, not individually but in his
                        representative capacity, is directed to otherwise fully
                        cooperate with the Trustee on behalf of the Debtor in
                        accordance with Bankruptcy Code section 521 ... "

 VI.   The Appeal and Attempts to Stay the Order to Compel Pending Appeal

              36.    On August 18, 2021, Kosso££ and the Debtor (together, the

 "Appellants") filed a notice of appeal [Bankr. Docket No. 144], seeking to commence an

 appeal the Order to Compel (the "Appeal").

              37.    Also on August 18, 2021, Appellants filed the Motion for Leave to

 Appeal [Bankr. Docket No. 145] (the "Motion for Leave to Appeal") in the Bankruptcy




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 Court, in which both the Debtor and Kossoff sought leave to appeal the Order to

 Compel. 7

                38.     On September 1, 2021, the Trustee filed the Chapter 7 Interim

 Trustee's Opposition to Motion for Leave to Appeal [S.D.N.Y. Docket No.5]. On September

 16, 2021, Appellants filed the Reply Memorandum of Law in Further Support of Motion for

 Leave to Appeal [S.D.N.Y. Docket No. 10].

                39.     On August 19, 2021, Appellants filed in the Bankruptcy Court the

 Debtor's Motion for Limited Stay Pending Appeal of the August 5, 2021 Order Holding the

 Fifth Amendment Inapplicable to Debtor and Compelling Mitchell Kossoff to Create Documents,

 to Appear for Examination at the Creditor Committee Meeting, and to Produce Documents and

 Other Information [Bankr. Docket No. 147] (the "Bankruptcy Court Stay Motion").

                40.     On September 7, 2021, the Trustee filed the Chapter 7 Interim

 Trustee's Objection to Motion for Limited Stay Pending Appeal of August 5, 2021 Order

 [Bankr. Docket No. 156].

                41.     On September 10,2021, Appellants filed the Movants' Reply in

 Further Support of Motion for Limited Stay Pending Appeal of the August 5, 2021 Order

 Holding the Fifth Amendment Privilege Against Self-Incrimination Inapplicable to Debtor and

 Compelling Mitchell Kossoff to Create Documents, to Appear for Examination at the Creditor




 7
     The Motion for Leave to Appeal was docketed on the District Court's docket on August 24, 2021
     [S.D.N.Y. Docket No.3].




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 Committee Meeting, and to Produce Documents and Other Information [Bankr. Docket No.

 167], which the Trustee opposed.

               42.    The Bankruptcy Court conducted a hearing to consider the

 Bankruptcy Court Stay Motion on September 14,2021 (the "September 14 Hearing").

               43.    On September 23,2021, the Bankruptcy Court entered its Order

 Denying Motion for Stay Pending Appeal [Bankr. Docket No. 178].

               44.    With the Order Denying Motion to Appeal, dated September 30, 2021,

 the Appeal and the request to stay pending appeal were denied by the District Court

 [S.D.N.Y. Docket No. 17]. The District Court's opinion by Judge Hellerstein specifically

 stated: "While Kossoff' s production of documents would be a corporate

 action, ... providing oral testimony may implicate Kossoff's individual Fifth Amendment

 rights." Judge Hellerstein's opinion did not address the bankruptcy schedules, which

 are testimonial in nature.

 VII.   Kossoff's Continued Non-Compliance with the Order to Compel

               45.    I am advised by the Trustee's counsel that the parties had

 telephonic discussions concerning Kossoff' s cooperation with the Trustee following

 entry of the District Court's Order Denying Motion to Appeal and the associated request

 for stay.

               46.    In accordance with those discussions and the District Court's

 Order, on October 19,2021, Mr. Kossoff produced seven (7) banker's boxes of

 documents in his possession that he had argued are protected by the act-of-production



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 privilege and included tax documents, individual escrow files, escrow account

 statements, ledger cards, credit card documentation and numerous other categories of

 documents. Bankr. Docket No. 249.

               47.    The Trustee has represented to the Court that the Kossoff

 Production is deficient and fails to fully comply with the Order to Compel, and Kossoff

 disputes that contention, stating that any deficiencies are due to the fact that the records

 are in the possession of the District Attorney's Office. During the November 16, 2021

 hearing, Mr. Kossoff represented to the Court that he has turned over to the Trustee all

 of the relevant documents in his possession, custody and control, with the exception of

 documents that are identified in the privilege log that is attached as an exhibit to Docket

 No. 252. Furthermore, he was prepared to dispute in detail that the documents

 produced were not current but for the Trustee's failure to provide copies of the

 pertinent documents to Debtor's counsel prior to the hearing, as the Trustee had

 represented he would so do. [Bankr. Court Docket No. 235 at p. 2].

               48.    As of the date hereof, Kossoff has failed to prepare and file the

 Schedules and he has not yet appeared for examination at a section 341 meeting because

 he has failed to file a list of the Debtor's creditors. Kossoff contests that assertion and

 states he is prepared to fill out the bankruptcy schedules subject to the invocation of his

 Constitutional privileges. He further states he is and has been fully willing to appear

 for examination once a date has been set for such examination. No appearance date has

 ever been set. Kossoff' s failure to fully comply with the Order to Compel impedes the




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 Trustee's efforts to conduct his investigation of the Debtor's affairs as mandated by

 Bankruptcy Code section 704. Such failure continues to increase the administrative

 costs and expenses of the Debtor's estate, which prejudices the Debtor's creditors.

               49.    It is the finding of this Court that Kosso££ has deliberately and

 willfully failed to comply with this Court's Order to Compel despite having been given

 an adequate opportunity to do so. Kosso££ has not only refused the Trustee's request

 for specific documents and information requested, but has refused to complete the

 Schedules or participate in a Section 341 Meeting as well.

               50.    Kosso££ disputes each and every assertion in Paragraph 49, requests

 the District Court to review all of the exhibits appended to this Certificate, and requests

 an opportunity to appear before the District Court to present his position before the

 District Court permits any arrest warrant to issue.

               THE UNDERSIGNED CERTIFIES THE FOREGOING FACTS, AND

 FINDS THAT THE SAID MITCHELL H. KOSSOFF HAS COMMITTED A CIVIL

 CONTEMPT OF COURT, WHICH CONTINUES TO DATE. IT IS THIS COURT'S

 RECOMMENDATION THAT MITCHELL H. KOSSOFF BE INCARCERATED UNTIL

 SUCH TIME THAT HE COMPLIES WITH THE BANKRUPTCY COURT'S ORDER TO

 COMPEL IN ITS ENTIRETY, AND THAT THE BANKRUPTCY COURT ISSUE A

 WARRANT FOR HIS ARREST.

               The following is included with this certificate and are a part hereof:

                      (a)    The Designation Order [Docket No. 93] (Exhibit "1");




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                   (b)   The Order to Compel [Docket No. 137] (Exhibit "2");

                   (c)   Chapter 7 Interim Trustee's Application for Order Holding

                         Mitchell H. Kossoff in Civil Contempt for Failure to Comply with

                         Order to Compel [Docket No. 218] (Exhibit "3");

                   (d)   Mitchell H. Kossoff s Submission In Opposition To The Trustee's

                         Motion For Contempt [Docket No. 249] (Exhibit "4");

                   (e)   Trustee's Reply In Support of Chapter 7 Interim Trustee's

                         Application For Order Holding Mitchell H. Kossoff In Civil

                         Contempt For Failure To Comply With Order to Compel [Docket

                         No. 252] (Exhibit "5);

                   (f)   September 30,2021 District Court Order Denying Motion To

                         Appeal [S.D.N.Y., 21 Civ. 7122, Docket No. 17] (Exhibit "6");

                         and

                   (g)   Transcript of November 16,2021 hearing held to consider

                         the Chapter 7 Interim Trustee's Application for Order Holding

                         Mitchell H. Kossoff in Civil Contempt for Failure to Comply with

                         Order to Compel (Exhibit "7").

 Dated: New York, New York
        November ____./ 2021




                                       HONORABLE DAVIDS. JONES
                                       UNITED STATES BANKRUPTCY JUDGE



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